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                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF VIRGINIA
                           Lynchburg Division

  DARTON ENVIRONMENTAL, INC.,                           )
                                                        )
         Plaintiff,                                     )
                                                        )
  v.                                                    )       Case No. 6:17-cv-00072
                                                        )
  FJUVO COLLECTIONS, LLC,                               )
                                                        )
  TG RECYCLE OIL, LLC,                                  )
                                                        )
  GUO DENG CHEN, aka ANDY CHEN,                         )
                                                        )
  GREEN OIL RECYCLE, INC.,                              )
                                                        )
  JIANBIN ZHENG, aka DANIEL ZHENG,                      )
                                                        )
  ADAM ZHENG,                                           )
                                                        )
         Defendants.                                    )
                                                        )
  _______________________________

             AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         COMES NOW your Plaintiff, Darton Environmental, Inc., and files this Complaint for

  breach of contract and business torts against Defendants. In support thereof, Plaintiff states as

  follows:

                                      NATURE OF THE CASE

   1.    This is a civil action in diversity jurisdiction, for damages alleging acts by Defendant

  against Plaintiff including business conspiracy, conversion and breach of contract.

   2.    The suit alleges that Defendant breached a contract with Plaintiff which allowed it to use

  proprietary technology of Plaintiff in exchange for strict noncompete and confidentiality
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  agreements to protect Plaintiff’s technology.

  3.     The suit seeks compensatory and punitive damages, injunctive relief, and imposition of a

  constructive trust for profits wrongfully obtained by Defendants.


                            PARTIES, JURISDICTION AND VENUE

  4.     This case arises under the Constitution of the United States and the laws of the

  Commonwealth of Virginia. Plaintiff is a corporation organized under the laws of, and doing

  business in, the Commonwealth of Virginia. Defendant Jianbin “Daniel” Zheng (“Jianbin

  Zheng”) is a natural person, and a citizen of the State of Indiana. Defendant Adam Zheng

  (“Adam Zheng”) is a natural person, and a citizen of the State of Indiana. Defendant Jianbin

  Zheng is also the principal of Defendant Green Oil Recycle, Inc., the principal and the sole

  Member of Defendant TG Recycle Oil, LLC, and a former Member of Defendant FJUVO

  Collections, LLC (“FJUVO”). Defendant Guo Deng “Andy” Chen (“Chen”) is a natural person,

  and a citizen of the State of Tennessee. Chen is also the principal and a Member of Defendant

  FJUVO Collections, LLC.

  5.     Defendant FJUVO Collections, LLC is a limited liability company organized under the

  laws of and doing business in the State of Tennessee. The Members of FJUVO are natural

  persons, whose names and states of citizenship are as follows:

         a. Zusong Wang, Greendale, Indiana.

         b. Jingxiang Liu, Kimball, Tennessee.

         c. Minxiu Liu, Indianapolis, Indiana.

         d. Yiran Chen, Coller Point, New York.

         e. Mengjuan Wang, Indianapolis, Indiana.

         f. Hengku Huang, Indianapolis, Indiana.

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         g. Yanfang Chen, East Chicago, Indiana.

         h. Guodeng Chen (“Andy Chen”), Murfreesboro, Tennessee.

         Accordingly, complete diversity exists between Plaintiff and Defendant FJUVO, as all

  Members of FJUVO are diverse from Plaintiff.

  6.     Defendant TG Recycle Oil, LLC (“TG”) is a limited liability company organized under

  the laws of and doing business in the State of Indiana. Defendant Jianbin Zheng, also a citizen of

  the State of Indiana, is the sole Member of Defendant TG Recycle Oil, LLC. Accordingly, for

  purposes of diversity jurisdiction, Defendant TG Recycle Oil, LLC, is a citizen of the State of

  Indiana. Defendant Green Oil Recycle, Inc. (“GOR”) is a for-profit corporation organized under

  the laws of and doing business in the State of Indiana, and accordingly a citizen of the State of

  Indiana. The matter in controversy exceeds, exclusive of interest and costs, the sum of $75,000.

  7.     The Court has jurisdiction under 28 U.S.C. §1332.

  8.     The Court also has pendant jurisdiction as provided under 28 U.S.C. §1367(a).

                                     STATEMENT OF FACTS

  9.     Plaintiff Darton Environmental, Inc. (“Darton”) is a corporation engaged in the business

  of collecting and refining used cooking oil and selling it to biofuel companies. Darton refines the

  cooking oil through a process called “heat and settle” involving superheated water, which

  separates waste material from the oil (“the Darton technology”).

  10.    Defendant FJUVO Collections, LLC (“FJUVO”) is a limited liability company which has

  historically been primarily engaged in collecting, refining and selling used cooking oil.

  Defendants Chen and Daniel Zheng were the initial Members of FJUVO.

  11.    Defendant TG Recycle Oil, LLC, (“TG”) is a limited liability company engaged in

  collecting, refining and selling used cooking oil. TG is a spin-off company of FJUVO. Defendant



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  Chen is the principal of TG.

  12.    Defendant Green Oil Recycle, Inc. (“GOR”) is a for-profit corporation engaged in

  collecting, refining and selling used cooking oil. Defendant Daniel Zheng is the principal of

  GOR.

  13.    Defendant FJUVO had a business relationship with Plaintiff in which Defendant

  collected and supplied Plaintiff with used cooking oil for Plaintiff’s refining operation.

  14.    Prior to its relationship with Plaintiff, Defendant had experimented with attempting to

  refine used cooking oil by use of a centrifuge.

  15.    The Darton technology is a significantly less labor-intensive and less costly means of

  refining than the centrifuge method.

  16.    In 2015, the parties began negotiating.

  17.    For FJUVO, the primary individuals involved in the negotiations were Guo Deng Chen,

  also known as Andy Chen (“Chen”), FJUVO’s principal; Jianbin Zheng, also known as Daniel

  Zheng, and his son Adam Zheng.

  18.    Chen and Daniel Zheng were partners in FJUVO, and Adam Zheng, the only one of the

  three with a firm command of the English language, was the initial contact person and the

  primary negotiator on behalf of FJUVO.

  19.    For Darton, the primary negotiator was its principal, Daryl Hubbard (“Hubbard”).

  20.    Plaintiff initially presented Defendant with two offers.

  21.    Option A proposed that Darton build for FJUVO a refining system utilizing Darton

  technology, for a price of $197,950 and an additional contingency amount not to exceed $10,000.

  In return, FJUVO would grant Darton an exclusive right to purchase each load of refined oil

  from the new FJUVO facility, at one cent below the “IL Jacobsen market price.”



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  22.    Option B proposed that Darton provide the plans, design and materials list for a refining

  system for FJUVO for $40,000. In return, FJUVO would grant Darton an exclusive right to

  purchase each load of refined oil from the new FJUVO facility, at one cent below the “IL

  Jacobsen market price.”

  23.    In the end, Defendant did not exercise either option, and Plaintiff offered another option,

  to which the parties eventually agreed.

  24.    Plaintiff offered to allow Defendant to inspect its refining facility, solely for the purpose

  of evaluating a potential business relationship between the parties.

  25.    In exchange, Defendant would supply to Darton a minimum of six truckloads of oil per

  month for eighteen months, at one cent below the IL Jacobsen market price, which Darton could

  then re-sell for two cents over market price.

  26.    One truckload of oil is approximately 46,000 pounds.

  27.    If FJUVO honored its agreement to sell refined oil to Darton at one cent below market,

  the ability to sell at two cents over market would net Darton approximately $1380 profit per

  truckload.

  28.    Darton intended thereby to profit from essentially licensing FJUVO to use its proprietary

  Darton technology, in exchange for the exclusive rights agreement to purchase refined oil at one

  cent below market price.

  29.    On October 21, 2015, the parties executed a “Buy and Sell Agreement” memorializing

  their final agreement. A copy is attached as Exhibit 1.

  30.    The Buy and Sell Agreement recited that “[i]n exchange for and in consideration of the

  right to see the proprietary equipment of DARTON ENVIRONMENTAL…, FJUVO

  Collections, LLC agrees to sell and… DARTON ENVIRONMENTAL, INC agrees to buy (6)



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  truckloads … per month of … used cooking oil for (18) months beginning November 1, 2015.”

  31.    However, Plaintiff insisted upon strict non-compete and confidentiality agreements, in

  order to protect its proprietary technology.

  32.    On October 21, 2015, the parties executed two documents, a “Non-Compete Agreement”

  and a “Confidentiality Agreement.”

  33.    The Noncompete Agreement obligated Defendants not to sell their oil to other companies

  in competition with Darton for ten years.

  34.    In the Noncompete Agreement, Defendant acknowledged that “the information provided

  by DARTON ENVIRONMENTAL, INC. is proprietary and recipient [FJUVO] warrants and

  guarantees that s/he will not offer it for sale, share or seek to profit from such information…. The

  recipient warrants that throughout the duration of this agreement and for a period not to exceed

  10 years following the culmination, completion or termination of this agreement, that s/he will

  not directly or indirectly engage in any business that would be considered similar in nature to …

  DARTON ENVIRONMENTAL, INC….”

  35.    The Agreement defines “confidential information” as “any and all technical and non-

  technical information provided by DARTON ENVIRONMENTAL, INC, including but not

  limited to … any proprietary information related in any way to … plans, methods, research,

  development,[or] programs … pertaining to any business of DARTON ENVIRONMENTAL,

  INC….”

  36.    The Agreement further entitled Plaintiff to injunctive relief for any violations. It read,

         The Recipient herein acknowledges (i) the unique nature of the protections and
         provisions established and contained within this Agreement, (ii) that the Company shall
         suffer irreparable harm if the Recipient should breach any of said protections or
         provisions, and (iii) that monetary damages would be inadequate to compensate the
         Company [Darton] for said breach. Therefore, should the Recipient cause a breach of any
         of the provisions contained within this agreement, … then the Company shall be entitled

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         to injunctive relief….

  37.    A copy of the Non-compete Agreement is attached as Exhibit 2.

  38.    The Confidentiality Agreement provides further protection to Darton. It defines

  “confidential information” as “[t]echnical and business information relating to Discloser’s

  [Darton’s] proprietary ideas, patentable ideas copyrights and/or trade secrets, existing or

  contemplated products and services, software [and] schematics, regardless of whether such

  information is designated as “Confidential Information” at the time of its disclosure.”

  39.    The Confidentiality Agreement stipulated that “Recipient shall use the Confidential

  Information only for the purpose of evaluating potential business and investment relationships

  with Discloser.”

  40.    Defendant further promised to “limit disclosure of Confidential Information within its

  own organization to its directors, officers, partners, members and/or employees having a need to

  know and shall not disclose Confidential Information to any third party … without the prior

  written consent of Discloser.”

  41.    Like the Non-Compete Agreement, the Confidentiality Agreement states that “[i]f there is

  a breach or threatened breach of any provision of this Agreement, … Discloser shall have no

  adequate remedy in money or other damages and accordingly shall be entitled to injunctive

  relief….”

  42.    A copy of the Confidentiality Agreement is attached as Exhibit 3.

  43.    The Agreements were signed for Defendant by its principal Andy Chen, and for Plaintiff

  by its principal, Daryl Hubbard.

  44.    After the agreements were signed, Plaintiff allowed Chen and Daniel and Adam Zheng to

  examine the proprietary equipment at the Darton refinery. Daniel Zheng also took photographs



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  of the equipment.

   45.   Chen and Daniel and Adam Zheng were all fully aware of the sensitive nature of the

  Darton technology, and of Darton’s desire to maintain its proprietary nature.

   46.   However, shortly after the agreements were signed and FJUVO representatives inspected

  the Darton refinery, FJUVO and its agents Chen and the Zhengs conspired together to breach the

  agreements.

   47.   FJUVO quickly set up its own refinery in Hammond, Indiana, and later converted its old

  centrifuge refinery in Murfreesboro, Tennessee to a “heat and settle” facility using the Darton

  technology, and began selling refined oil therefrom.

   48.   Defendants Chen and TG also conspired to use and in fact began to use the Darton

  technology in TG’s refinery in Highland, Indiana.

   49.   Defendants Daniel Zheng and GOR also conspired to use and in fact began to use the

  Darton technology at their refinery in Highland, Indiana.

   50.   To date, between FJUVO, GOR and TG, at least three refineries and perhaps additional

  facilities have been constructed using the Darton technology.

   51.   The refineries are located in Murfreesboro, Tennessee, and Highland and Indianapolis,

  Indiana.

   52.   In addition, Defendants quickly began selling refined oil to other buyers, in direct

  competition with Darton and in violation of the ten-year Noncompete Agreement.

   53.   As a result of the breaches by Defendants, Plaintiff has been caused to suffer severe

  financial losses.

   54.   In April, 2017, Chen told Hubbard that TG’s Highland refinery was selling four

  truckloads of refined oil per month, the Indianapolis refinery two to three truckloads per month,



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  and the FJUVO Murfreesboro facility four to six truckloads per month.

                      COUNT I vs. Defendant FJUVO – Breach Of Contract

   55.   The allegations of paragraphs 1 through 52 are adopted and incorporated herein by

  reference as if each allegation had been separately realleged.

   56.   Defendant FJUVO had an enforceable written contract with Plaintiff.

   57.   Under the contract, Defendant was required to keep Plaintiff’s proprietary cooking oil

  refinery process confidential and to refrain from using the information to compete with Plaintiff.

   58.   Defendant both disseminated Plaintiff’s proprietary information and used the information

  to directly compete with Plaintiff.

   59.   As a result of Defendant’s breach, Plaintiff has suffered continuing and ongoing damages

  in lost profits from the oil Defendant never transferred to Plaintiff.

   60.   As a further result of Defendant’s breach, Plaintiff has suffered significant lost profits

  from business Plaintiff likely would have realized with TG and GOR had not Defendant

  disseminated Plaintiff’s proprietary information, in an amount not known at this time.

                             COUNT II vs. All Defendants – Conversion

   61.   The allegations of paragraphs 1 through 58 are adopted and incorporated herein by

  reference as if each allegation had been separately realleged.

   62.   Plaintiff holds a property interest in the proprietary Darton technology.

   63.    As alleged herein, Defendants wrongfully exerted dominion over the proprietary Darton

  technology in denial of or inconsistent with Plaintiff’s rights.

   64.    Defendants’ conversion of Plaintiff’s proprietary technology was willful and wanton and

  in conscious disregard of the rights of Plaintiff.

   65.   As a direct and proximate result of Defendants’ conversion, Plaintiff has been damaged



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  and is entitled to recover from Defendants in an amount to be determined at trial.

  COUNT III vs. All Defendants - Tortious Interference With Business Expectancy and/or
  Prospective Economic Advantage

   66.   The allegations of paragraphs 1 through 63 are adopted and incorporated herein by

  reference as if each allegation had been separately realleged.

   67.   Plaintiff had a business expectancy in continuing to receive refined oil from Defendant

  FJUVO at below market price, which Plaintiff could resell at a profit. This expectancy presented

  the probability of future economic benefit to Plaintiff.

   68.   It was contemplated in the contract between the parties that any use of Darton technology

  by Defendants would be in furtherance of Defendants’ agreement to sell the oil to Darton, and

  not to sell to Darton’s competitors.

   69.   Defendants had full knowledge of Plaintiff’s business expectancy with them.

   70.   Defendants interfered with Plaintiff’s business expectancy through the use of improper

  means and methods as set forth herein, including breaching the Non-Compete and

  Confidentiality Agreements, misappropriating the Darton technology, disseminating the Darton

  technology to other Defendants without permission or license from Plaintiff, and selling refined

  oil directly to Darton’s competitors.

   71.   As set forth herein, Defendants wrongfully appropriated trade secrets of Plaintiff,

  including but not limited to the design information for the Darton refining techonology.

   72.   As set forth herein, Defendants used and continue to use the proprietary Darton

  technology to unfairly compete with and damage Plaintiff.

   73.   In interfering with Plaintiff’s business expectancy, Defendants acted willfully and

  maliciously and in conscious disregard for the rights of Plaintiff.

   74.   Coupled with Defendants’ theft of the Darton technology, Defendants have ceased to

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  honor their contract with Darton to supply refined oil, and instead are refining it with the stolen

  technology and selling to other buyers who are direct competitors of Darton, at higher profits.

   75.    As a proximate result of Defendants’ unlawful appropriation and dissemination of the

  proprietary Darton technology, Plaintiff has lost its profitable business relationship with

  Defendant FJUVO.

   76.    Absent the intentional interference by Defendants, it is reasonably certain that Plaintiff

  would have realized the expectancy.

   77.    As a further proximate result of Defendants’ unlawful appropriation of the proprietary

  Darton technology, Plaintiff has lost potential sales or licensing of the Darton technology, which

  is now being unlawfully duplicated and disseminated by Defendants with no remuneration to

  Plaintiff.

   78.    As a result of the tortious conduct of Defendants, Plaintiff has suffered and will continue

  to suffer substantial damages, both in lost profits from sale of oil from FJUVO, and in lost

  revenue from selling or licensing the Darton technology to other refiners including Defendants

  TG and GOR.

   COUNT IV vs. All Defendants - Statutory Business Conspiracy—Va. Code § 18.2-499(B)

   79.    The allegations of paragraphs 1 through 76 are adopted and incorporated herein by

  reference as if each allegation had been separately realleged.

   80.    Defendants, by virtue of the conduct described herein, participated, cooperated, and

  agreed among themselves, to enter into multiple combinations, associations, agreements, and/or

  mutual understandings for the purpose of willfully and maliciously injuring Plaintiff in his

  reputation, trade, business, or profession.

   81.    Defendants undertook these actions with full knowledge, intentionally, purposefully,



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  willfully, maliciously, and without lawful justification.

   82.    Indeed, the entire intention of Defendants Chen and the Zhengs, at the time of inspecting

  Plaintiff’s refinery, was to wrongfully appropriate the proprietary Darton technology and convert

  it to the benefit of themselves and the other Defendants, to the detriment of Plaintiff.

   83.    By virtue of Defendants’ conspiracy, in violation of sections 18.2-499(B) and 18.2-500 of

  the Virginia Code, Plaintiff has suffered injury to its trade, business, profession, and reputation,

  both in lost profits from sale of oil from FJUVO, and in lost revenue from selling or licensing the

  Darton technology to other refiners, including Defendants TG and GOR.

               COUNT V vs. All Defendants – Common Law Business Conspiracy

   84.    The allegations of paragraphs 1 through 81 are adopted and incorporated herein by

  reference as if each allegation had been separately realleged.

   85.    By virtue of the conduct described herein, Defendants did act in concert together to

  unlawfully damage Plaintiff’s business, with the result that Plaintiff suffered significant losses.

   86.    By virtue of the conduct described herein, Defendants did act in concert to wrongfully

  appropriate the proprietary Darton technology, which Defendants did use unlawfully to directly

  compete with Plaintiff.

   87.    By virtue of the conduct described herein, Plaintiff lost profits from sale of oil from

  FJUVO, and in lost revenue from selling or licensing the Darton technology to other refiners,

  including Defendants TG and GOR.

         COUNT VI vs. All Defendants - Violation of Virginia Uniform Trade Secrets Act

   88.    The allegations of paragraphs 1 through 85 are adopted and incorporated herein by

  reference as if each allegation had been separately realleged.

   89.    By virtue of the actions described herein, Defendants did wrongfully appropriate and



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  disseminate the proprietary Darton technology belonging to Plaintiff, and did use that

  information to directly compete with and damage Plaintiff.

   90.   The confidential information unlawfully procured by Defendants consists of trade secrets

  including the proprietary Darton technology.

   91.   The information referenced above includes formula(s), pattern(s), compilation(s),

  program(s), device(s), method(s), technique(s), and/or process(es).

   92.   The information referenced above derives both actual and potential independent

  economic value.

   93.   The information referenced above was not generally known to other persons or entities.

   94.   The information referenced above was not readily ascertainable by proper means by other

  persons who can obtain economic value from its disclosure or use.

   95.   Plaintiff made reasonable efforts to maintain the secrecy and confidentiality of said

  confidential information, including contracting with Defendant FJUVO for Non-Compete and

  Confidentiality Agreements specifically making the information proprietary and confidential.

   96.   Defendants acquired the confidential documents by theft, misrepresentation, and/or

  breach of duty to maintain their secrecy or with knowledge or reason to know that said

  acquisition was by theft, misrepresentation, and/or breach of duty to maintain their secrecy.

   97.   Defendants utilized and/or disclosed to others the proprietary Darton technology without

  the express or implied consent of Plaintiff.

   98.   Defendants continue to use said proprietary information and/or trade secrets without the

  consent and/or authorization of Plaintiff.

   99.   Defendants have and continue to disclose said proprietary information and/or trade

  secrets without the consent and/or authorization of Plaintiff.



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   100. The actual loss suffered by Plaintiff to date is unknown at this time. Defendants’ unjust

  enrichment, to date, as a result of their said taking, use, retention, and/or disclosure of said

  proprietary information is unknown at this time.

                       COUNT VII vs. All Defendants – Constructive Trust

   101. The allegations of paragraphs 1 through 98 are adopted and incorporated herein by

  reference as if each allegation had been separately realleged.

   102. The Virginia Supreme Court has held that “[c]onstructive trusts arise, independently of

  the intention of the parties, by construction of law … in order to prevent what otherwise would

  be a fraud. They occur not only where property has been acquired by fraud or improper means,

  but also where it has been fairly and properly acquired, but it is contrary to the principles of

  equity that it should be retained, at least for the acquirer's own benefit.” Leonard v. Counts, 272

  SE 2d 190, 195 (Va. 1980).

   103. In the instant case, Defendants FJUVO, Chen and the Zhengs wrongfully utilized

  Plaintiff’s proprietary technology to directly damage Plaintiff, and further disseminated the

  technology to the other Defendants, to the severe damage and harm of Plaintiff.

   104. All Defendants have used and continue to use Plaintiff’s proprietary technology to

  directly compete with Plaintiff.

   105. Although FJUVO, Chen and the Zhengs may have initially obtained the technology

  lawfully, their dissemination of the technology and their use of it in violation of their Non-

  compete Agreement was wrongful and improper. “It is contrary to the principles of equity” that

  the profit wrongfully obtained thereby should be retained.



  WHEREFORE, Plaintiff respectfully prays this Court for the following relief:



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  1.     An award of compensatory damages in the amount of $250,000 against Defendant

  FJUVO for breach of contract, TREBLED in accordance with Code of Virginia § 18.2-500.

  2.     An award against all Defendants jointly and severally of $350,000 for lost profits.

  TREBLED in accordance with Code of Virginia § 18.2-500.

  3.     An award of $350,000 in punitive damages for Defendants’ willful and wrongful actions

  in misappropriating and disseminating Plaintiff’s proprietary technology.

  4.     Imposition of a constructive trust in the amount of any past or future profits obtained by

  Defendants due to their wrongful use of Plaintiff’s proprietary technology.

  5.     An injunction forbidding Defendants to use the proprietary Darton technology in the

  future except under the terms of any contract that may be agreed to by Plaintiff, and requiring

  that if no such contract is obtained, that Defendants dismantle any components of their refineries

  containing Darton technology.

  6.     An award of reasonable attorney’s fees and costs incurred in bringing this action, as

  provided by Code of Virginia § 18.2-500.

  7.     Such other and further relief as shall seem to this honorable Court to be just and

  equitable.

                                                                      Respectfully submitted,


                                                                      Darton Environmental, Inc.
                                                                      By Counsel

  ____________/s/_______________
  Rick Boyer, Esq.
  VSB No. 80154
  Relevant Law, PLLC
  102 Northwynd Cir.
  Lynchburg, VA 24502
  Telephone: 434-401-2093
  Facsimile: 434-239-3651

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                                         CERTIFICATION

         I, Rick Boyer, counsel for Plaintiff in this cause, hereby certify that on this 25th day of

  April, 2018, I caused a true and correct copy of this Amended Complaint to be served via this

  Court’s CM/ECF system upon the following counsel for Defendants:


         Bevin Alexander, Esq.
         FREEMAN DUNN ALEXANDER GAY LUCY & COATES, PC
         1045 Cottontown Rd
         Lynchburg, VA 24503
         Phone: 434-528-3400
         Fax: 434-385-0365
         balexander@freemandunn.com
         Counsel for Defendants Jian Bin Zheng, Adam Zheng, Green Oil Recycle, Inc and TG
         Recycle Oil, LLC.

         Joshua A. Mullen, Esq. (Tenn. Bar. No. 28388)
         Appearing pro hac vice
         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
         Baker Donelson Center, Ste. 800
         211 Commerce St.
         Nashville, TN 37201
         Phone: 615-726-7318
         Fax: 615-744-7318
         Email: jmullen@bakerdonelson.com

         Austin K. Purvis, Esq. (Tenn. Bar. No. 032329)
         Appearing pro hac vice
         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
         Baker Donelson Center, Ste. 800
         211 Commerce St.
         Nashville, TN 37201
         Phone: 615-726-7318
         Fax: 615-744-7318
         Email: apurvis@bakerdonelson.com

         Matthew D. Davison, Esq. (Va. Bar. No. 44826)
         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
         100 Med Tech Pkwy.
         Johnson City, TN 37604

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        Phone: 423-928-0181
        Fax: 423-928-5694
        Email: mdavison@bakerdonelson.com

        Counsel for Defendants FJUVO Collections, LLC and Guo Deng Chen.




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